USCA11 Case: 23-13360    Document: 27      Date Filed: 12/22/2023   Page: 1 of 3




                                  In the
               United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 23-13360
                         ____________________

      STATE OF GEORGIA,
                                                      Plaintiﬀ-Appellee,
      versus
      DAVID JAMES SHAFER,


                                                  Defendant-Appellant.


                         ____________________

                Appeal from the United States District Court
                   for the Northern District of Georgia
                    D.C. Docket No. 1:23-cv-03720-SCJ
                         ____________________

                         ____________________
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      2                    Order of the Court                 23-13360

                              No. 23-13361
                        ____________________

      STATE OF GEORGIA,
                                                   Plaintiﬀ-Appellee,
      versus
      SHAWN MICAH TRESHER STILL,


                                                Defendant-Appellant.


                        ____________________

               Appeal from the United States District Court
                  for the Northern District of Georgia
                   D.C. Docket No. 1:23-cv-03792-SCJ
                        ____________________

                        ____________________

                              No. 23-13362
                        ____________________

      STATE OF GEORGIA,
                                                   Plaintiﬀ-Appellee,
      versus
USCA11 Case: 23-13360      Document: 27     Date Filed: 12/22/2023     Page: 3 of 3




      23-13360                Order of the Court                          3

      CATHLEEN ALSTON LATHAM,


                                                     Defendant-Appellant.


                           ____________________

                 Appeal from the United States District Court
                    for the Northern District of Georgia
                     D.C. Docket No. 1:23-cv-03803-SCJ
                          ____________________

      ORDER:
             The motion for an extension of time to and including Janu-
      ary 18, 2024, to file Appellants’ initial joint brief is GRANTED, with
      the appendix due 7 days after the filing of the brief.




                                     /s/ Nancy G. Abudu
                                     UNITED STATES CIRCUIT JUDGE
